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            GCIU-EMPLOYER
           RETIREMENT FUND

                                 Trust Agreement
                                         Effective January 1, 1976
                       As Revised and Restated December 1, 2012



           GCIU-Employer Retirement           EXHIBIT 1 to COMPLAINT - 7
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                                                  PREAMBLE

                  WHEREAS, the signatory parties (or their predecessors in interest) did previously
             execute a “Retirement Benefit Plan”, with an effective date of October 1, 1955, which
             document created and governed a joint labor-management employee pension benefit fund
             presently known as the
                                                GCIU — Employer
                                                 Retirement Fund
                                                       and
                  WHEREAS, said document did also create an employee pension benefit plan present-
             ly known as the
                                                GCIU — Employer
                                              Retirement Benefit Plan
                                                       and
                  WHEREAS, said document was subsequently amended in several respects, and
                  WHEREAS, said document was adopted in accordance with the applicable provi-
             sions of Section 302(c) of the Labor Management Relations Act of 1947 and applicable
             provisions of the Internal Revenue Code, and
                  WHEREAS, the enactment of the Employee Retirement Income Security Act of 1974
             mandated the adoption of certain substantive changes in the documents governing employ-
             ee pension benefit funds and thus required amendment of the existing document, and
                  WHEREAS, the Trustees have again determined to revise and restate the existing
             Trust Agreement so as to further take into account contemporary needs and conditions,
             including amendments which have been made since the September 1, 1999 revision,
                  NOW THEREFORE, the Trustees and remaining signatory parties do hereby revise
             and restate the “Trust Agreement”, as follows:




                                                     —1—

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                                                    ARTICLE I
                                              DECLARATION OF TRUST

            1.   Name
                 The Trustees and the remaining signatory parties hereby reaffirm the declaration and
            establishment of a Trust Fund known as the
                                                 GCIU — Employer
                                                  Retirement Fund
                 The Trustees may hold property, enter into contracts, and in all matters act on behalf
            of the Trust Fund in such name. The Trust Fund may sue or be sued in such name.
            2.   Purpose
                 The purpose of the Trust Fund is to provide an entity to which contributions from par-
            ticipating employers can be paid and through which the Trustees can administer the
            GCIU—Employer Retirement Benefit Plan for the benefit of the participating employees
            for whom such contributions have been paid, and their beneficiaries.
            3.   Nature of Trust Fund
                 The Trust Fund is a “trust” as contemplated by Section 302(c)(5) of the Labor
            Management Relations Act of 1947; a “trust” as contemplated by Section 401(a) of the
            Internal Revenue Code; and a “trust” as contemplated by Section 403(a) of the Employee
            Retirement Income Security Act of 1974. It is an entity separate and apart from the par-
            ticipating employers, employer associations, and labor organizations.
            4.   Duration of Trust Fund
                 The Trust Fund shall continue in existence on an indefinite basis, contemporaneous-
            ly with the term of this Trust Agreement.
            5.   Term of Trust Agreement
                 This revised and restated Trust Agreement shall be effective as of December 1, 2012,
            and shall continue indefinitely until such time as it may be terminated in accordance with
            the provisions of Article XIV hereof.




                                                      —2—

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                                                    ARTICLE II
                                                   DEFINITIONS

                  The following definitions shall govern in this Trust Agreement:
                  1. “Beneficiary”—any person designated by a participating employee, under the terms
             of the Retirement Benefit Plan, to receive benefits, if any, upon the death of such participat-
             ing employee.
                   2. “Collective bargaining agreement”—a written agreement between a participating
             employer and a participating labor organization, providing generally for wages, hours, and
             working conditions, by the terms of which the employer is obligated to make contributions
             to the Trust Fund on behalf of the bargaining unit employees covered by such an agreement.
                   3. “Contributions”—the payments which a participating employer is obligated to
             make to the Trust Fund pursuant to the terms of a collective bargaining agreement, subscrip-
             tion agreement, or participation agreement.
                  4. “Participating employee”—an individual employed by a participating employer and
             for whom that employer makes contributions to the Trust Fund, as allowed by the provisions
             of Article V, Sections 1, 2, 3, 4, and 5 and any individual who formerly was so employed and
             who has achieved vested or retired status under the terms of the Retirement Benefit Plan.
                   5. “Participating employer”—any employing entity that is party to a collective
             bargaining agreement or subscription agreement with a participating labor organization, as
             allowed by the provisions of Article V, Section 1 hereof. An employing entity may be a sole
             proprietorship, partnership, unincorporated association, corporation, or joint venture; or the
             United States of America; or any state, county or municipality; or other public agency, pub-
             lic corporation, or governmental unit.
                  A participating labor organization, or the Trust Fund, or any related trust fund, shall also
             be considered as a “participating employer” for the limited purpose of allowing the employ-
             ees of such entities to participate in the Trust Fund, as permitted by Article V, Sections 2 and
             5 hereof.
                  6. “Participating employer association”—any employer association or multi-employer
             bargaining group that is party to a collective bargaining agreement with a participating labor
             organization, as allowed by the provisions of Article V, Section 1 hereof.
                  7. “Participating labor organization”—Graphic Communications Conference of the
             International Brotherhood of Teamsters, and any local union, district council, joint district
             council, conference, or other bargaining agency affiliated with or represented by the
             Conference, that has entered into a collective bargaining agreement or subscription agree-
             ment with a participating employer or employer association, as allowed by the provisions of
             Article V, Section 1 hereof.
                   8. “Participation agreement”—a written agreement, in a form approved by the
             Trustees, by the terms of which a participating employer is obligated to make contributions
             to the Trust Fund on behalf of the non-bargaining unit employees covered by such an agree-
             ment.
                 9. “Pension benefits” or “employee pension benefits”—the pension and related
             benefits provided in the Retirement Benefit Plan.

                                                        —3—

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                 10.“Related trust fund”—an employee benefit trust fund, other than this Trust Fund,
            to which participating employers make contributions as required by collective bargaining
            agreements with participating labor organizations.
                 11. “Retirement Benefit Plan”—The GCIU—Employer Retirement Benefit Plan as
            constituted on the effective date of this Trust Agreement and as hereafter amended.
                12. “Signatory parties”—the parties who have created this Trust Agreement and
            whose identities and signatures appear on the last page hereof and their successors. (See
            Note on page 40)
                 13. “Subscription agreement”—a written agreement, in a form approved by the
            Trustees, by the terms of which a participating employer and participating labor organiza-
            tion subscribe to the terms and provisions of this Trust Agreement, and by the terms of
            which an employer is obligated to make contributions to the Trust Fund on behalf of the
            bargaining unit employees covered by such an agreement.
                 14. “Trustees” or “Board of Trustees”—the Trustees of the Trust Fund and their suc-
            cessors.
                15. “Trust” or “Trust Fund”—the entity created by this Trust Agreement and all
            property and money held by such entity, including all contract rights and records.




                                                    —4—

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                                                 ARTICLE III
                                               THE TRUSTEES

             1.   The Board of Trustees
                  The Trust Fund and the Retirement Benefit Plan shall be controlled and administered
             by a Board of Trustees composed of Employer Trustees and Labor Organization Trustees.
             2.   Statutory Capacities of Trustees
                  For purposes of complying with Section 302(c)(5)(B) of the Labor Management
             Relations Act of 1947, the participating employers shall be represented, in the administra-
             tion of the Trust Fund, by the Employer Trustees; and the participating employees shall be
             represented by the Labor Organization Trustees.
                  For purposes of complying with the various provisions of the Employee Retirement
             Income Security Act of 1974 the Trustees shall be considered as “named fiduciaries”,
             “fiduciaries”, the “plan administrator”, and the “plan sponsor”, as those terms are used in
             the Act.
             3.   Agents for Service of Process
                   The Trustees shall also be considered as agents of the Trust Fund for the purpose of
             accepting service of legal process, provided that the Trustees may designate their admin-
             istrative manager, or another person, as agent of the Trust Fund for this purpose.
             4.   Number of Trustees
                  There may be up to eighteen (18) Trustees, nine (9) of whom shall be Employer
             Trustees and nine (9) of whom shall be Labor Organization Trustees.
             5.   Alternate Trustees
                  There may also be up to ten (10) alternate Trustees, five (5) of whom shall be alter-
             nate Employer Trustees and five (5) of whom shall be alternate Labor Organization
             Trustees.
                  In the event any Employer Trustee is absent from any meeting of the Trustees he may
             designate an alternate Employer Trustee to serve in his place and stead. If the absent
             Employer Trustee fails to make such a designation, the Employer Trustees who are pre-
             sent at the meeting may designate an alternate Employer Trustee to serve in the place and
             stead of the absent Trustee.
                  In the event any Labor Organization Trustee is absent from any meeting he may
             designate an alternate Labor Organization Trustee to serve in his place and stead. If the
             absent Labor Organization Trustee fails to make such a designation, the Labor
             Organization Trustees who are present at the meeting may designate an alternate Labor
             Organization Trustee to serve in the place and stead of the absent Trustee.
                  The alternate Trustees, if any, shall be appointed in the same manner and retain such
             appointment under the same conditions as the regular Trustees. When designated to serve
             for a regular Trustee, and while serving, an alternate Trustee shall have all of the powers
             and responsibilities of a regular Trustee.


                                                      —5—

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            6.   Identity of Present Trustees
                The regular and alternate Trustees serving as of the revised date of this Trust
            Agreement are:

                 Employer Trustees                    Labor Organization Trustees
                 Hugh Gaylord                         Edward A. Treacy
                 Jim Janiga                           Stephen E. Northup
                 Joseph Conley                        John D. Bachler
                 Thomas E. Phillips                   George Tedeschi
                 Tom Sarnecki
                                                      Alternate Labor Organization Trustees
                                                      Ralph Meers

            7.   Appointment of Successor Employer Trustees
                 In the event of the termination of appointment, resignation, or death of an Employer
            Trustee, a successor Employer Trustee shall be appointed by unanimous action of the
            remaining Employer Trustees.
            8.   Appointment of Successor Labor Organization Trustees
                  In the event of the termination of appointment, resignation, or death of a Labor
            Organization Trustee, a successor Labor Organization Trustee shall be appointed by unan-
            imous action of all of the signatory labor organizations. If any signatory labor organiza-
            tion fails, within sixty (60) days, to respond to a suggested appointment made by the other
            signatory labor organizations, that signatory labor organization will be deemed to have
            waived its rights to participate in or to contest the appointment.
            9.   Individuals Disqualified from Service as Trustees
                 No individual who has been convicted of any of the crimes listed in Section 411(a)
            of the Employee Retirement Income Security Act of 1974 shall serve as a Trustee during
            the period of disqualification specified in the statute.
            10. Acceptance of Appointment by Trustees
                 Each Trustee shall sign a document accepting his appointment as Trustee and agree-
            ing to abide by the terms and provisions of this Trust Agreement.
            11. Term of Appointment
                 Each Trustee shall serve until termination of appointment, resignation, or death.
            12. Termination of Appointment by Appointing Entity
                The appointment of an Employer Trustee may be terminated, at any time, by unani-
            mous action of the remaining Employer Trustees.
                The appointment of a Labor Organization Trustee may be terminated, at any time, by
            unanimous action of all of the signatory labor organizations.
                 The termination of a Trustee’s appointment shall be effective upon the termination
            date specified in a written notice of termination, executed by the group of appropriate
            Employer Trustees or signatory labor organizations. Any such notice shall be addressed to


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             the Trustees and shall be mailed to the Trust Fund’s administrative office.
             13. Termination of Appointment for Failure to Attend Meetings
                   The appointment of a Trustee shall be automatically terminated if such Trustee fails
             to attend three (3) consecutive meetings of the Trustees, without being excused from atten-
             dance by specific action of the remaining Trustees noted in the minutes. Alternate Trustees
             are exempt from this requirement.
             14. Termination of Appointment for Conviction of a Crime
                  The appointment of a Trustee shall be automatically terminated if such Trustee is con-
             victed of any of the crimes listed in Section 411(a) of the Employee Retirement Income
             Security Act of 1974. If a Trustee who is so disqualified should continue to serve as a
             Trustee, in circumstances where the remaining Trustees have no knowledge of his dis-
             qualification, such service shall not invalidate any of the actions or decisions of the
             Trustees during the period of such service.
             15. Termination of Appointment for Mental Incapacity
                  The appointment of a Trustee shall be automatically terminated if such Trustee is
             declared mentally incompetent by court decree.
             16. Resignation of Appointment
                  A Trustee may resign his appointment at any time. Such resignation shall be effective
             upon the resignation date specified in a written notice of resignation. Any such notice shall
             be addressed to the Trustees and shall be mailed to the Trust Fund’s administrative office.
             17. Vacancies
                  No vacancy in the position of Trustee shall impair the power of the remaining
             Trustees to administer the affairs of the Trust Fund so long as a quorum exists as specified
             in Article IV, Section 2 hereof.
             18. Return of Books and Records
                   In the event of the termination of appointment, resignation, or death of a Trustee, the
             Trustee (or his legal guardian, heirs, or personal representative) shall, upon the request of
             the Chairman or the Secretary or of the administrative manager, forthwith turn over to the
             administrative manager, any and all records, books, documents, monies, and other prop-
             erty in the possession of the Trustee, or under his control, that belong to the Trust Fund or
             that were received by him in his capacity as Trustee.




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                                               ARTICLE IV
                                       TRUST FUND ADMINISTRATION
            1.   Manner of Voting
                 Any action to be taken by the Trustees shall require a favorable vote by the Employer
            Trustees and by the Labor Organization Trustees, according to the unit method of voting.
            The Employer Trustees shall have but one vote among them (which shall be determined
            by a majority of the Employer Trustees present) and the Labor Organization Trustees shall
            have but one vote among them (which shall be determined by a majority of the Labor
            Organization Trustees present).
                 Any Trustee including the Chairman or Secretary may offer or second any motion or
            resolution for the Trustees’ consideration. Any individual Trustee shall be entitled, upon
            request, to have his vote recorded in the official minutes.
            2.   Constitution of a Quorum
                 To constitute a quorum at any meeting of the Trustees there must be present at least
            three (3) Employer Trustees, or duly designated alternates, and three (3) Labor
            Organization Trustees, or duly designated alternates.
            3.   Proxies Prohibited
                 To encourage full attendance at meetings of the Trustees and due consideration of the
            matters being voted upon, there shall be no proxies. A Trustee must be present in order to
            cast a vote.
            4.   Regular Meetings
                 The Trustees shall hold regular periodic meetings consistent with the needs of Trust
            Fund business, provided that there shall be at least two (2) regular meetings held during
            each calendar year. The Trustees shall determine the time and place of all such meetings.
            5.   Special Meetings
                 Either the Chairman or the Secretary or any two (2) Trustees (one Employer and one
            Labor Organization Trustee) may call a special meeting of the Trustees by giving written
            notice to all the other Trustees of the time and place of such meeting, at least thirty (30)
            days before the date set for the meeting, provided that thirty (30) days advance notice shall
            not be necessary if all Trustees are agreeable to an earlier meeting.
            6.   Action without a Formal Meeting
                 The Trustees may take action without a formal meeting by means of the presentation
            of a written motion or resolution sent to all Trustees by the administrative manager and the
            subsequent obtaining of Trustee votes on the motion or resolution in letters, by email, or
            by facsimile transmission sent by each Trustee to the administrative manager. Any such
            action shall be reported in the minutes of the next formal meeting.
            7.   Failure of the Trustees to Agree—Arbitration
                 In the event the Employer Trustees and Labor Organization Trustees should deadlock
            on any matter submitted for their consideration, the dispute may be referred by either
            group of Trustees to an impartial arbitrator in accordance with the labor arbitration rules
            of the American Arbitration Association. A deadlock shall be deemed to occur when there

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             is a tie vote on any motion before the Trustees.
                   The Trustees shall attempt to agree on the joint submission of a statement of the issue
             in dispute. However, if the Trustees cannot jointly agree upon such a statement, each group
             of Trustees shall submit to the arbitrator, in writing, its version of the issue in dispute. As
             part of his award, the arbitrator shall state his determination as to the exact issue.
                  The decision and award of the arbitrator shall be final and binding upon the
             Trustees and upon all parties whose interests are affected thereby.
                   The expenses of any such arbitration, including any court proceedings relating there-
             to, and the fee of the arbitrator and the reasonable attorney’s and witness fees of the par-
             ties, shall be chargeable to the Trust Fund.
                   The procedure specified in this Section shall be the sole and exclusive procedure
             for the resolution of deadlocked issues.
             8.   Election of Officers
                  The Trustees shall elect a Chairman, Vice-Chairman, Secretary and Assistant
             Secretary. Two of these officers shall be Employer Trustees and two shall be Labor
             Organization Trustees. When the Chairman is an Employer Trustee, the Vice-Chairman
             shall also be an Employer Trustee; when the Secretary is a Labor Organization Trustee, the
             Assistant Secretary shall also be a Labor Organization Trustee, or vice-versa.
                  The officers shall hold office indefinitely, provided that at the first regular meeting in
             each odd numbered year, either the Employer Trustees or the Labor Organization Trustees
             may obtain, on their request, a rotation of all offices and a new election of all officers.
                   An officer may resign his office at any time. Such resignation shall be effective upon
             the resignation date specified in a written notice of resignation. Any such notice shall be
             addressed to the Trustees and shall be mailed, emailed or faxed to the Trust Fund’s admin-
             istrative office. In case of the resignation, death, or termination of appointment of either
             the Chairman or the Secretary, there shall be a new election of all offices. In case of the
             resignation, death, or termination of appointment of either the Vice-Chairman or the
             Assistant Secretary, there shall be a new election of that office only.
             9.   Duties of Officers
                  The Chairman shall chair the meetings of the Trustees, shall appoint all committees
             and shall carry out such other duties as the Trustees may assign to him. The Vice-
             Chairman, in the absence of the Chairman, shall act in place of the Chairman and perform
             the Chairman’s duties.
                  The Secretary shall advise the Trustees as to all correspondence and financial reports
             pertaining to the Trust Fund and shall keep minutes or records of all meetings, proceed-
             ings, and actions of the Trustees, provided that these particular responsibilities may be del-
             egated to the administrative manager or to other professional persons retained by the
             Trustees. The Assistant Secretary, in the absence of the Secretary, shall act in place of the
             Secretary and perform the Secretary’s duties.
             10. Authorized Signatures
                  The Chairman or the Vice-Chairman, and the Secretary or the Assistant Secretary,
             shall sign all negotiable instruments, certificates, contracts, government reports, and other


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            legal documents on behalf of the Trust Fund, provided that the authority for signing nego-
            tiable instruments may be delegated to the administrative manager, corporate trustee (if
            any), depository bank, or custodian bank. All persons doing business with the Trust Fund
            may rely on such signatures.
                  If the Trust Fund issues benefit checks to participating employees or their beneficia-
            ries, the signatures of the Chairman and Secretary may be affixed thereto by a facsimile
            signature device, under safeguards determined by the Trustees.
            11. Compensation and Expenses
                 No Trustee shall receive any compensation from the Trust Fund for services as a
            Trustee.
                  Each Trustee (and each alternate Trustee who is called upon to substitute for an
            absent Trustee) shall be reimbursed out of the Trust Fund for all expenses properly and
            actually incurred by him in the administration of the Trust Fund. The Trustees shall estab-
            lish the conditions for the reimbursement of expenses.
            12. Benefits to Trustees Not Prohibited
                 Nothing in this Trust Agreement shall prohibit a Trustee from receiving any benefits
            under the terms of the Retirement Benefit Plan, if he is otherwise eligible for the same as
            a participating employee or as a beneficiary of a participating employee.




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                                                   ARTICLE V
                                                 PARTICIPATION

             1.   Bargaining Unit Employees Entitled to Participate
                  Employees in bargaining units covered by collective bargaining agreements between
             employers and employer associations in the printing and paper products industry and the
             Graphic Communications Conference of the International Brotherhood of Teamsters, or
             any local union, district council, joint district council, conference or other bargaining
             agency affiliated with, merged with, or represented by the Conference, shall be entitled to
             participate in this Trust Fund.
                   The Trustees, however, shall have the authority to decline or terminate the participa-
             tion of a particular bargaining unit if (a) the bargaining parties fail to provide the Trustees
             with a copy of their collective bargaining agreement or if the language of the contribution
             provision in such agreement does not meet the requirements of the Trustees, provided that
             the Trustees, in their discretion, may accept a subscription agreement in lieu of, or to sup-
             plement, a collective bargaining agreement; (b) the negotiated contribution rate is lesser,
             or greater, than the contribution rate or rates allowable under the terms of the Retirement
             Benefit Plan, provided that the Trustees, in their discretion, may accept the different rate
             and establish different eligibility rules or benefit formulas for the bargaining unit employ-
             ees affected; (c) to allow participation as requested would violate any established rule, pol-
             icy, or procedure governing participation in the Trust Fund; or (d) there exist other facts
             and circumstances which, in the Trustees’ discretion, justify a declination or termination
             of participation.
             2.   Labor Organization Employees
                  Employees of a participating labor organization may participate in the Trust Fund,
             provided that the labor organization executes a participation agreement by the terms of
             which it agrees to make contributions to the Trust Fund on behalf of such employees.
                  The rate at which the labor organization makes contributions to the Trust Fund shall
             not exceed the highest negotiated rate in the geographical area encompassed by that labor
             organization.
             3.   Non-Bargaining Unit Employees of Participating Employers
                  Non-bargaining unit employees of a participating employer may participate in the
             Trust Fund, provided that the employer executes a participation agreement by the terms of
             which it agrees to make contributions to the Trust Fund on behalf of such employees. The
             contribution rate for nonbargaining unit employees shall be a monthly rate equivalent to
             that which the participating employer is required to pay for its bargaining unit employees.
             Contributions must be paid on all employees falling within an appropriate group as fol-
             lows:
                  Group A—Office clerical employees. All office clerical employees at a particular
             establishment must be considered as a group and the employer must make contributions
             for all office clerical employees within such group.
                  Group B—Managerial employees/business agents/officers. All managerial employ-
             ees, business agents and officers at a particular establishment must be considered as a

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            group and the employer must make contributions for all employees within such group.
            Further, no contributions shall be accepted for a managerial employee, business agent or
            officer group unless the employer also contributes for the remaining employees at that
            establishment.
                 Group C—Foremen and superintendents of printing department. All non-contract
            foremen and superintendents of the printing department at a particular establishment must
            be considered as a group and the employer must make contributions for all foremen and
            superintendents in such group.
                Group D—Other non-bargaining groups. The Trustees may recognize and allow other
            groups of non-bargaining unit employees to participate, as they may determine.
            4.   Transferred Employees
                 Individual participating employees who may be transferred from a bargaining unit
            position to a non-bargaining unit position at a particular establishment may continue to
            participate in the Trust Fund, provided that the participating employer makes contributions
            for all such employees. The contribution rate for transferred employees shall be a month-
            ly rate equivalent to that which the participating employer is required to pay for its bar-
            gaining unit employees.
            5.   Trust Fund Employees
                 Employees of the Trust Fund (if any), or of a related trust fund may participate in the
            Trust Fund, provided that the Trustees authorize such participation. The cost of such par-
            ticipation shall be chargeable to the Trust Fund or to the related trust fund.
            6.   Unauthorized Participation
                 The only individuals who are eligible to participate in and receive benefits from the
            Trust Fund shall be those employees in the bargaining units and other groups described in
            Sections 1, 2, 3, 4, and 5 above. It is expected that participating employers will submit
            contributions only on behalf of such employees. The receipt by the Trust Fund of contri-
            butions which may be submitted on behalf of individuals who are not eligible to partici-
            pate shall not stop the Trustees from declining or terminating the participation of such
            individuals nor shall it constitute a waiver of any of the provisions of this Article or of the
            Retirement Benefit Plan.
            7.   Sole Proprietors and Partners Ineligible
                 Sole proprietors and partners are not to be considered as participating employees and
            shall not be eligible to participate in and receive benefits from the Trust Fund.
            8.   Participation of Non-Bargaining Unit Employees
                 It is intended that the participation of groups described in Sections 2, 3, 4 and 5 above
            (and the resulting coverage under and benefits from this Retirement Benefit Plan) will be
            in accordance with the non-discrimination laws contained in the Tax Reform Act of 1986
            and the Technical and Miscellaneous Revenue Act of 1988 and any amendments or regu-
            lations issued subsequent thereto, to the extent such laws and regulations are applicable to
            this Trust Fund and the Retirement Benefit Plan. Any omissions or oversights will be
            resolved in accordance with the applicable laws and regulations.



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                                                 ARTICLE VI
                                          TRUSTEE RESPONSIBILITIES

             1.   General Duty—Receipt of Contributions and
                  Administration of Retirement Benefit Plan
                  It shall be the general duty of the Trustees to receive the employer contributions and
             any other income or assets which they may obtain and, with such, to administer the
             Retirement Benefit Plan.
                  Additionally, the Trustees shall have the specific duties set forth in this Article and
             such other duties as are imposed upon them by Section 302(c) of the Labor Management
             Relations Act of 1947, the Employee Retirement Income Security Act of 1974, and other
             applicable laws.
             2.   Compliance with the Internal Revenue Code
                  The Trustees shall administer the Trust Fund and the Retirement Benefit Plan so that,
             to the extent allowed in the Internal Revenue Code, employer contributions are tax
             deductible and the Trust Fund is tax-exempt.
             3.   Funding Standards
                   The Trustees, with the assistance of their enrolled actuary, shall establish and main-
             tain a funding standard account, as required by Section 304(b)(l) of the Employee
             Retirement Income Security Act of 1974, for the purpose of determining that the
             Retirement Benefit Plan remains actuarially sound according to the funding standards
             imposed by such Act. The funding standard account shall be reviewed by the Trustees at
             least once each year and on occasions when the Trustees are considering amendments to
             the Retirement Benefit Plan which involve an actuarial cost.
                  The Trustees shall administer the Trust Fund and the Retirement Benefit Plan so that,
             to the extent such is reasonably within their control, the Plan does not accrue an uncorrect-
             ed “accumulated funding deficiency”, as defined in Section 304(a) of the Employee
             Retirement Income Security Act of 1974. If it should be determined that an “accumulated
             funding deficiency” has accrued or will accrue, such deficiency may be corrected by the
             participating employers and labor organizations, through an adjustment in the amount of
             contributions, or by the Trustees, through an amendment of the Retirement Benefit Plan
             adjusting the level of benefits.
                  The foregoing provision shall not be interpreted as a guarantee that the Retirement
             Benefit Plan will never accrue an uncorrected “accumulated funding deficiency” or as an
             indemnification on the part of the Trustees as to any liability which may be imposed upon
             a participating employer with respect to such deficiency under the applicable provisions
             of such Act or the Internal Revenue Code.
             4.   Basis of Payments to and from Trust Fund
                  The basis on which the employer contributions are made to the Trust Fund shall be
             as specified in the underlying collective bargaining agreement, subscription agreement or
             participation agreement. The basis on which benefits are paid out of the Trust Fund shall
             be as specified in the Retirement Benefit Plan.


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            5.   Application of Trust Fund Assets
                 As required by Section 403(c)(l) of the Employee Retirement Income Security Act of
            1974, the assets of the Trust Fund shall never inure to the benefit of any participating
            employer and shall be held for the exclusive purposes of providing benefits to participat-
            ing employees and their beneficiaries and defraying reasonable administrative expenses.
            6.   Fiduciary Standards
                 As required by Section 404(a)(l)(A) and (B) of the Employee Retirement Income
            Security Act of 1974, the Trustees shall discharge their duties and administer the Trust
            Fund assets solely in the interest of the participating employees and their beneficiaries and
            for the exclusive purpose of (a) providing benefits to participating employees and their
            beneficiaries and (b) defraying reasonable expenses of benefit plan administration.
                 In carrying out their duties the Trustees shall act with the care, skill, prudence, and
            diligence under the circumstances then prevailing that a prudent man acting in a like
            capacity and familiar with such matters would use in the conduct of an enterprise of a like
            character and with like aims.
            7.   Deposits
                  The Trustees shall deposit the contributions or any other monies which they may
            receive, in one or more banks or similar financial institutions supervised by the United
            States or a state, pending the allocation of such monies for the payment of current bene-
            fits and expenses, or for investment.
            8.   Investments
                 The Trustees shall invest all contributions or other monies not required for the pay-
            ment of current benefits and expenses. The Trustees may invest and reinvest in bank
            accounts, savings and loan accounts, securities, mortgages, deeds of trust, notes, commer-
            cial paper, real estate, insurance contracts, and in such other property, real, personal, or
            mixed, as they deem prudent provided that in the making of investments the Trustees shall
            diversify such investments as required by Section 404(a)(l)(C) of the Employee
            Retirement Income Security Act of 1974 so as to minimize the risk of large losses, unless
            under the circumstances it is clearly prudent not to do so. Further, no investment shall be
            made which would constitute a “prohibited transaction” within the meaning of Section 406
            of such Act, provided that the Trustees shall have the authority to apply to the Secretary
            of Labor for a conditional or unconditional exemption from any of the “prohibited trans-
            action” rules, as they may deem necessary.
            9.   Specifically Permitted Investments
                 In the event the Trustees designate one or more banks or similar financial institutions
            supervised by the United States or a state to serve as custodian of the trust assets, or as a
            corporate co-trustee, or in another fiduciary capacity, the monies belonging to the Trust
            Fund may be invested in the accounts of such bank or institution, provided that such
            accounts bear a reasonable interest rate.
                  Further, to the extent allowed by law, the monies of the Trust Fund may be invested
            in (a) a common or collective trust fund or pooled investment fund maintained by a bank
            or trust company supervised by the United States or a state or (b) in a pooled investment
            fund of an insurance company, or (c) in a group trust sponsored by a qualified investment

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             manager as that term is defined in Section 3(38) of the Employee Retirement Income
             Security Act of 1974, even though such bank, trust company, insurance company, or
             investment manager is a party-in-interest as that term is designated in Section 3(14) of the
             Employee Retirement Income Security Act of 1974, provided that the bank, trust compa-
             ny, insurance company, or investment manager receives not more than reasonable com-
             pensation for managing such an investment.
                   Finally, to the extent permitted by law, the monies of the Trust Fund may also be
             invested in certain alternative investments, including, but not limited to, REITS, private
             equity funds, infrastructure funds, and instruments comprising risk parity and real return
             strategies, subject to the investment criteria set out in Section 8 above.
             10. Title to Investments and Other Assets
                  Title and voting rights to all investments or other assets of the Trust Fund shall be
             maintained in the name of the Trust Fund provided that for convenience in transferring
             securities, title and voting rights to such securities may be held in the name of the Trust
             Fund’s custodian bank, or of its nominee.
                  Except as may be authorized by regulation of the Secretary of Labor the indicia of
             ownership of all investments and other assets of the Trust Fund shall not be maintained
             outside the jurisdiction of the district courts of the United States.
             11. Fidelity Bond
                  The Trustees shall procure a fidelity bond in the amount required by Section 412 of
             the Employee Retirement Income Security Act of 1974 covering the Trustees, the
             administrative manager, and all other persons who receive, handle, disburse, or otherwise
             exercise custody or control of any of the funds or other property of the Trust Fund. The
             cost of such bond shall be chargeable to the Trust Fund.
             12. Records
                  The Trustees shall maintain records of their administration of the Trust Fund and the
             Retirement Benefit Plan, including records of all receipts and disbursements, all invest-
             ments purchased or sold, all participating employee listings, all minutes of Trustee meet-
             ings, and all correspondence. No such record shall be destroyed except upon the specific
             action of the Trustees and destruction shall not be directed until a period of eight (8) years
             has elapsed from the date the record was created, unless some additional period is required
             by law.
             13. Annual Audit
                  The Trustees shall engage, on behalf of the participating employees and their benefi-
             ciaries, an independent qualified public accountant as that term is defined in Section
             103(a)(3)(D) of the Employee Retirement Income Security Act of 1974 and shall autho-
             rize such accountant to conduct an annual financial examination of the Trust Fund, as
             required by Section 103(a)(3)(A) of such Act, and such other examinations as the Trustees
             may deem necessary. The cost of such examinations shall be chargeable to the Trust Fund.
                  A statement of the results of each annual examination shall be submitted to the
             Trustees for their review and, further, shall be made part of the Trust Fund’s annual report.




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            14. Annual Actuarial Statement
                 The Trustees shall engage, on behalf of the participating employees and their
            beneficiaries, an enrolled actuary, as that term is defined in Section 103(a)(4)(C) of the
            Employee Retirement Income Security Act of 1974, and shall authorize such actuary to
            prepare an annual actuarial statement as to the Retirement Benefit Plan, as required by
            Section 103(d) of such Act. The cost of such statement shall be chargeable to the Trust
            Fund.
                 The annual actuarial statement shall be submitted to the Trustees for their review and,
            further, shall be made part of the Trust Fund’s annual report.
                 The enrolled actuary shall also be authorized to conduct an annual actuarial valuation
            as required under Section 304(c)(7) of such Act.
            15. Summary Plan Description
                 The Trustees shall furnish to the Department of Labor, upon request, any documents
            related to the employee benefit plan, including but not limited to the latest summary plan
            description, and any modifications or changes in the information contained in such
            description, as required by Section 104(a)(6) of the Employee Retirement Income Security
            Act of 1974.
                 The Trustees shall also furnish to participating employees and to each beneficiary receiv-
            ing benefits copies of the summary plan description and copies of any modifications or
            changes in the information in such description, as required by Section 104(b)(l) of such Act.
            16. Annual Report
                 The Trustees shall prepare and file with the Department of Labor an annual report as
            required by Sections 104 and 4065 of the Employee Retirement Income Security Act of
            1974 as amended. The Trustees shall also furnish a report to participating employers and
            the participating labor organizations within 30 days after the due date for filing of the
            annual report that contains the summary plan information set forth under Section 104 (d)
            of such Act. In no case shall a participating employer or participating labor organiza-
            tion be entitled to receive more than one copy of any such document described in Section
            104(d) of the Act during any one 12-month period. The Trustees may impose a reasonable
            charge to cover copying, mailing, and other costs of furnishing copies of the required
            information.
            17. Statements of Accrued Pension Benefits
                  As required by Section 105(a)(1)(B) of the Employee Retirement Income Security Act
            of 1974, the Trustees shall furnish a pension benefit statement at least every 3 years to each
            participating employee with a nonforfeitable accrued benefit and who is employed by a par-
            ticipating employer at the time the statement is to be furnished, and to a participating
            employee or beneficiary upon written request. The pension benefit statement shall indicate,
            on the basis of the latest information available, (a) the total benefits accrued and (b) the non-
            forfeitable pension benefits, if any, which have accrued, or the earliest date on which ben-
            efits will become nonforfeitable. Such statements may be delivered in written, electronic,
            or other appropriate form to the extent such form is reasonably accessible to the participat-
            ing employee or beneficiary. Alternatively, the Trustees may comply with the requirements
            of Section 105 (a) (1) (B) of such Act by providing at least once a year to participating


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             employees notice of the availability of the pension benefit statement and the ways in which
             the participating employee may obtain such statement. Such notice may be delivered in
             written, electronic, or other appropriate form to the extent such form is reasonably accessi-
             ble to the participating employee. In no case shall a participating employee or beneficiary
             be entitled to more than one pension benefit statement in any 12-month period.
                  In addition, the Trustees shall furnish to each participating employee who during the
             Plan Year separates from service covered by the Benefit Plan, who is entitled to a deferred
             vested benefit under the Benefit Plan as of the end of such Plan Year, and with respect to
             whom retirement benefits were not paid under the Benefit Plan during such Plan Year, a
             statement describing the nature, amount and form of the deferred vested benefit to which
             such participating employee is entitled. Such statement shall also include a notice to the
             participating employee of any benefits which are forfeitable if the participant dies before
             a certain date. The Trustees shall also file an annual registration statement with the Internal
             Revenue Service concerning participating employees to whom such statements have been
             issued, as required by Section 6057 of the Internal Revenue Code.
             18. Pension Funding Notice
                  The Trustees shall provide an annual pension funding notice to the Pension Benefit
             Guaranty Corporation, to each participating employee and beneficiary, to the participating
             labor organization, and to each participating employer. The notice shall contain the specific
             information required for multiemployer plans as set forth under Section 101(f)(2) of the
             Employee Retirement Income Security Act of 1974 and shall be provided to the applicable
             parties not later than 120 days after the end of the Plan Year to which the notice relates. Such
             notice may be provided in written, electronic, or other appropriate form to the extent such
             form is reasonably accessible to persons to whom the notice is required to be provided.
             19. Income Tax Withholding and Reporting
                   The Trustees (or their duly appointed custodian bank) shall annually provide each
             retired employee or beneficiary receiving benefits with notice of the right to elect against
             withholding of income tax from his pension benefits and the right to revoke such election
             as required by Section 3405 of the Internal Revenue Code.
                   The Trustees shall also furnish to each retired employee or beneficiary receiving ben-
             efits an annual statement of the benefits paid to him, as required by Section 6051 (a) of
             such Code.
             20. Documents to be Examined or Furnished
                   The Trustees shall make copies of (a) this Trust Agreement, (b) the latest summary
             plan description, (c) the latest annual report, (d) the applicable collective bargaining agree-
             ment, and (e) any other contracts or instruments under which the employee pension bene-
             fit plan is established or operated available for examination by participating employees or
             their beneficiaries in the Trust Fund office as required by Section 104(b)(2) of the
             Employee Retirement Income Security Act of 1974.
                   The Trustees shall upon written request by any participating employee or beneficiary,
             furnish to the participating employee or beneficiary a copy of (a) this Trust Agreement,
             (b) the latest updated summary plan description, (c) the latest annual report, (d) any termi-
             nal report, (e) the applicable collective bargaining agreement, and (f) any other contracts
             or instruments under which the employee pension benefit plan is established or operated,

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            as required by Section 104(b)(4) of such Act. Such copies shall be furnished within thirty
            (30) days of the request. The Trustees may impose a reasonable charge for such copies as
            may be allowed by regulation of the Secretary of Labor.
                  The Trustees shall also, upon written request by a participating employee or benefi-
            ciary, furnish to the participating employee or beneficiary a copy of a) any periodic actu-
            arial report (including any sensitivity testing received by the Trust Fund for any Plan Year
            which has been in the Trust Fund’s possession for at least 30 days, b) a copy of any quar-
            terly, semi-annual or other financial report prepared for the Trust Fund by any Fund
            Investment Manager or advisor or other fiduciary which has been in the Trust Fund’s pos-
            session for at least 30 days, and c) any application filed with the Secretary of the Treasury
            requesting an extension under Section 304 of the Act or Section 431 (d) of the Internal
            Revenue Code of 1986, as required by Section 101(k) of the Act subject to any limitations
            imposed by Section 101(k) with regard to individually identifiable information and pro-
            prietary information. Such copies shall be furnished within 30 days of the request but only
            one copy of any report or application may be received during one 12 month period. The
            Trustees may impose a reasonable charge to cover copying, mailing and other costs of fur-
            nishing copies of the information as may be allowed by regulations of the Secretary of
            Labor. This provision also applies to the participating employers and labor organizations.
            21. Procedure for Establishing Funding Policy
                  As required by Section 402(b)(l) of the Employee Retirement Income Security Act of
            1974, the Trustees shall meet periodically with the administrative manager, enrolled actu-
            ary, independent qualified public accountant, investment manager or managers (if any),
            and such other Trust Fund advisers as may be appropriate for the purpose of anticipating
            the short and long run financial needs of the Trust Fund and of establishing an appropri-
            ate funding policy and method for the Trust Fund.
                The funding policy and method shall be considered by the Trustees, or by their invest-
            ment manager or managers (if any), in the management of trust fund investments.
            22. Payments to Pension Benefit Guaranty Corporation
                  The Trustees shall pay to the Pension Benefit Guaranty Corporation the plan termina-
            tion insurance premiums fixed by the Corporation, as required by Section 4002(a) of the
            Employee Retirement Income Security Act of 1974. Such premiums shall be chargeable
            to the Trust Fund. Consistent with regulations issued by the Corporation, the Trustees shall
            have the authority to adopt a definition of a plan “participant” and to compute and pay pre-
            miums on the basis of that “definition”.
            23. Benefit Claim and Review Procedures
                 The Trustees shall establish administrative procedures whereby a participating
            employee or beneficiary who makes a claim for benefits and that claim is denied, is noti-
            fied, in writing, of the reasons for such denial including specific references to the
            Retirement Benefit Plan provisions upon which the denial is based, a description of any
            additional information which is necessary to perfect the claim and why the information is
            necessary, and which afford such a participating employee or beneficiary a reasonable
            opportunity for a full and fair review, as required by Section 503 of the Employee
            Retirement Income Security Act of 1974. Such procedures shall include the Benefit Claim



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             and Review Procedures for a participating employee or beneficiary as set out in Article
             XIII, Section 5 of the Retirement Benefit Plan
                                      ARTICLE VII
                  ALLOCATION OR DELEGATION OF TRUSTEE RESPONSIBILITIES
             1.    Allocation of Responsibilities to Committees
                  The Trustees may allocate to one or more committees of Trustees all or part of the
             following responsibilities, with full power to act: (a) the responsibility for managing the
             Trust Fund investments (if not otherwise delegated to a qualified investment manager); (b)
             the responsibility for reviewing and determining benefit claims of participating employees
             and their beneficiaries; (c) the responsibility for conducting hearings and issuing determi-
             nations as provided for in Article XI, Section 3 hereof; (d) the responsibility for resolving
             questions or problems that may be encountered in connection with payroll auditing or
             employer withdrawal liability activities; (e) the responsibility for resolving questions or
             problems that may be encountered in connection with the collection of delinquent employ-
             er accounts; (f) the responsibility for resolving questions or problems that may be encoun-
             tered in connection with the day-to-day work of the administrative manager; (g) the
             responsibility for reviewing the performance of the qualified investment managers (if
             any), and of the other persons retained by the Trustees.
                   In the event the Trustees elect to allocate any of the stated responsibilities they shall
             do so by the adoption of a motion or resolution calling for the appointment of a commit-
             tee of Trustees (consisting of equal numbers of Employer Trustees and Labor Organization
             Trustees) and specifying the particular responsibility that is being allocated. With respect
             to the responsibility that is allocated, the committee shall have the powers of the full Board
             of Trustees. Any action to be taken by the committee shall be determined according to the
             voting formula contained in Article IV, Section 1 hereof. If the committee members dead-
             lock on any matter submitted for their consideration such matter shall be referred to the
             full Board of Trustees for review and action.
                  Nothing contained herein shall in any way limit the authority of the Trustees to cre-
             ate additional committees for the purpose of assisting with or expediting the affairs of the
             Trust Fund, provided that any such committee shall be empowered only to make recom-
             mendations with respect to the matters referred to it.
             2.    Delegation of Investment Responsibilities
                  The Trustees may delegate all or part of their responsibilities for the management of
             the Trust Fund investments to one or more qualified investment managers, as that term is
             defined in Section 3(38) of the Employee Retirement Income Security Act of 1974, i.e.,
             (a) an investment adviser registered as such under the Investment Advisers Act of 1940,
             (b) a bank as defined in that Act, or (c) an insurance company qualified to manage,
             acquire, or dispose of employee benefit plan assets under the laws of more than one state.
                  In the event the Trustees elect to delegate investment responsibility they shall do so
             by the adoption of a motion or resolution making the delegation to a designated invest-
             ment manager(s). The delegation shall be effective when the investment manager(s)
             accepts the delegation and acknowledges in writing his status as a fiduciary with respect
             to the Trust Fund.

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            3.   Delegation of Other Responsibilities
                 The Trustees may delegate all or part of their responsibilities with respect to the
            administration of the Trust Fund or the Retirement Benefit Plan (except investment
            responsibilities) to their administrative manager or to any other person whom they may
            designate for such purpose.
                 In the event the Trustees elect to delegate a particular responsibility they shall do so
            by the adoption of a motion or resolution making the delegation to a designated person.
            The delegation shall be effective when the designated person accepts the delegation. If the
            delegation involves a responsibility other than one which is ministerial in nature, the des-
            ignated person shall also acknowledge in writing his status as a fiduciary with respect to
            the Trust Fund.
            4.   Review of Performance
                 In the event the Trustees elect to allocate or delegate Trustee responsibilities they
            shall periodically review the performance of the persons to whom such responsibilities
            have been allocated or delegated.




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                                                ARTICLE VIII
                                              TRUSTEE POWERS

             1.   General Powers
                  Except as may be expressly limited by the terms of this Trust Agreement, the Trustees
             shall have full and exclusive authority to control and administer the Trust Fund and the
             Retirement Benefit Plan.
                  The authority of the Trustees encompasses not only the specific powers recited in the
             various paragraphs of this Trust Agreement but also includes the general power to do all
             things and take all actions, including the expenditure of Trust Fund monies, which they
             may deem necessary to carry out the purpose of this Trust Agreement. The Trustees may
             implement their powers through the adoption of appropriate motions, resolutions, or
             administrative rules and regulations. Unless otherwise stated in this Trust Agreement, the
             Trustees will serve as fiduciaries in the creation, the administration and design of the
             Benefit Plan hereunder and in the implementation of any action resulting from these func-
             tions or in the exercise of any other general or specific power set out in this Trust
             Agreement.
             2.   Specific Powers Discretionary
                  The recitation of specific powers in this Trust Agreement shall not be interpreted as
             compelling the exercise of any such power. The exercise of specific powers is discre-
             tionary with the Trustees.
             3.   Benefit Plan Being Administered
                  The employee pension benefit plan being administered through this Trust Fund as of
             the effective date of this Trust Agreement is described as the
                                                GCIU—Employer
                                              Retirement Benefit Plan
             4.   Amendments to the Benefit Plan
                  The Trustees shall have the authority to amend the Retirement Benefit Plan, in whole
             or in part, as they may determine. Such amendments may involve the rules under which
             participating employees and beneficiaries become eligible for pension benefits, the nature
             of the pension benefits to be provided, including any related benefits, and the amount and
             duration of such benefits.
                  No amendment shall be made if the same is prohibited by the provisions of the
             Employee Retirement Income Security Act of 1974 or the Internal Revenue Code and, if
             the subject matter is governed by the Act, or the Code, the amendment shall conform to
             the requirements of the Act or the Code.
             5.   Means of Providing Benefits
                  The Trustees may provide the benefits specified in the Retirement Benefit Plan, in
             whole or in part, directly from the Trust Fund or may contract with an insurance carrier or
             other legally authorized entity, to underwrite or provide such benefits.


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            6.    Facility of Payment
                 The Trustees shall have the authority to adopt rules by the terms of which benefit pay-
            ments owing to minors or incompetents may be paid instead to a person or institution pro-
            viding care or other services to such minor or incompetent, even though a legal guardian
            ship does not exist. Benefit payments made under any such rules shall fully discharge the
            Trust Fund’s obligation to the minor or incompetent.
            7.    Administrative Manager
                 The Trustees shall have the authority to retain, at the expense of the Trust Fund, an
            administrative manager to assist the Trustees in the administration of the Trust Fund and
            the Retirement Benefit Plan. Such administrative manager may be retained on a contract
            or salaried basis, as the Trustees may determine.
                 In the event the Trustees employ a salaried administrative manager they shall also
            have the authority to employ such additional administrative staff personnel as may be nec-
            essary.
                  The Trustees shall periodically review the performance of the administrative manag-
            er.
            8.    Banking Services
                 The Trustees shall have the authority to retain, at the expense of the Trust Fund, one
            or more banks or similar financial institutions supervised by the United States or a state,
            to perform depository or custodial services, or to serve as corporate trustee or co-trustee,
            on behalf of the Trust Fund.
                 The Trustees shall periodically review the performance of the banks which they have
            retained to provide banking services.
            9.    Other Professional and Non-Professional Persons
                 The Trustees shall have the authority to retain, at the expense of the Trust Fund, actu-
            aries, attorneys, employee benefit plan consultants, investment managers, investment per-
            formance analysts, payroll auditors, collection agents, and other professional or non-pro-
            fessional persons, as they may deem necessary. Unless limited by the provisions of the
            Employee Retirement Income Security Act of 1974, the retention of any such profession-
            al or non-professional help may be on a contract or salaried basis, as the Trustees may
            determine.
                 The Trustees shall periodically review the performance of the professional or nonpro-
            fessional persons they have retained.
            10. Obtaining of Necessary Premises, Equipment, and Supplies
                 The Trustees shall have the authority to purchase or lease suitable premises and
            equipment and to purchase materials and supplies, at the expense of the Trust Fund, as
            they may deem necessary.
            11. Insurance
                  The Trustees shall have the authority to purchase policies of insurance (liability,
            property damage, casualty, and errors and omissions) to protect the Trust Fund and to pro-
            tect themselves, their administrative manager, and their employees (if any), with respect


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             to their activities on behalf of the Trust Fund, as they may deem necessary. The costs of
             such insurance policies shall be chargeable to the Trust Fund.
                   Any policy of errors and omissions insurance shall contain a recourse clause as
             required by Section 410(b)(l) of the Employee Retirement Income Security Act of 1974,
             provided that nothing herein shall prevent a Trustee (or an employer, employer associa-
             tion, or labor organization acting on his behalf) or the administrative manager, or the Trust
             Fund employees (if any) from purchasing for themselves a waiver of the recourse clause
             or a separate policy insuring against such recourse.
             12. Borrowing Money
                 The Trustees shall have the authority to borrow money for the Trust Fund, with or
             without security, as they may deem necessary.
             13. Reserve Funds
                  The Trustees shall have the authority to maintain reasonable reserve funds, for future
             contingencies, as they may deem necessary.
             14. Payment of Taxes
                  The Trustees shall have the authority to pay, at the expense of the Trust Fund, all real
             and personal taxes, and other taxes and assessments of any kind, which may be lawfully
             levied or assessed against the Trust Fund.
             15. Refunds of Contributions Erroneously Paid
                  The Trustees shall have the authority to adopt rules by the terms of which refunds of
             contributions may be made to a participating employer where the employer has paid such
             contributions in error, as may be allowed by Section 403(c) of the Employee Retirement
             Income Security Act of 1974.
             16. Penalties for False or Withheld Information
             The Trustees shall have the authority to adopt rules and regulations by the terms of which
             reasonable penalties or forfeitures may be imposed upon participating employees or ben-
             eficiaries who (a) falsify any information requested of them in the administration of the
             Trust Fund and the Retirement Benefit Plan, or (b) fail to provide requested information
             within a reasonable time.
             17. Correction of Errors
                   It is recognized and acknowledged by all parties that the Trustees will provide
             eligibility credits and benefits to participating employees and their beneficiaries based on
             Trust Fund records. It is also recognized and acknowledged that such records could be
             incorrect due to (a) employers reporting individuals who are not eligible for participation,
             (b) employers reporting incorrect names or incorrect social security numbers, (c) employ-
             ers reporting more or less than the hours or contributions required to be reported, (d) delin-
             quent employer reports, (e) employees or beneficiaries submitting incorrect or false bene-
             fit applications, (f) recording or computation errors by the administrative manager, (g)
             computer errors, or (h) other similar circumstances. The Trustees shall have the authority
             to correct the Trust Fund records whenever errors are discovered and to terminate partici-
             pation, adjust eligibility credits or benefits, or seek the recovery of benefit overpayments,



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            as they may determine.
            18. Prosecution of Legal Action or Claims
                 The Trustees shall have the authority to originate and maintain any legal actions, or
            claims involving potential legal actions, at the expense of the Trust Fund, as they may
            deem necessary. All such actions and claims shall be prosecuted in the name of the Trust
            Fund or in the name of an assignee.
            19. Defense of Legal Actions or Claims
                  The Trustees shall have the authority to defend all legal actions, claims involving
            potential legal actions, and investigatory proceedings, initiated against the Trust Fund or
            against one or more of the Trustees, or former Trustees, or the administrative manager, or
            against one or more of the employees of the Trust Fund (if any) which relate to the admin-
            istration of the Trust Fund or the Retirement Benefit Plan. Except as stated below, the
            defense of such actions, claims and proceedings shall be at the expense of the Trust Fund.
                  If the final court decree establishes personal liability on the part of specified Trustees,
            or the administrative manager, or the employees of the Trust Fund (if any) for breach of
            their fiduciary responsibilities, as permitted by Section 409(a) of the Employee Retirement
            Income Security Act of 1974, and orders that the specified persons are to bear the expens-
            es of their own defense, the attorney fees and costs of the specified persons shall not be
            chargeable to the Trust Fund. If attorney fees and costs have already been charged to the
            Trust Fund, the specified persons shall be obligated to repay the Trust Fund for their pro
            rata share of such fees and costs.
            20. Compromise of Legal Actions or Claims
                 The Trustees shall have the authority to compromise, settle, or release all legal
            actions, or claims involving potential legal actions, in favor of or against the Trust Fund
            on such terms and conditions as they may determine.
            21. Subscription and Participation Agreements
                  The Trustees shall have the authority to create and distribute subscription and partici-
            pation agreements, at the expense of the Trust Fund, and to insist upon the execution and
            filing of such agreements as a condition precedent to the acceptance of contributions.
            22. Participation in Non-Profit Educational Organizations
                  The Trustees shall have the authority to participate in non-profit foundations,
            corporations, councils, committees, or other organizations which sponsor educational pro-
            grams or provide educational materials pertaining to the administration of trust funds of
            this nature and of employee benefit plans. If the Trustees act to participate in any such non-
            profit organization, the membership or participation fees of the organization shall be
            chargeable to the Trust Fund.
                 The Trustees shall also have the authority to purchase educational materials and to
            provide for the attendance of the Trustees, or of their administrative manager, or of such
            of their employees (if any), as they may designate, at educational conferences and meet-
            ings. The costs of such materials and attendance shall be chargeable to the Trust Fund.
            23. Reciprocity
                 The Trustees shall have the authority to enter into reciprocal agreements with other

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             employee pension benefit funds for the exchange of eligibility credits or monies, or for the
             payment of pro rata benefits, on behalf of employees who may terminate their partici-
             pation in the Trust Fund and begin participation in a reciprocal trust fund, and vice-versa.
             24. Mergers
                   The Trustees may accept mergers of other employee pension benefit trust funds,
             maintained by participating employers or jointly by participating employers and partici-
             pating labor organizations, into this Trust Fund so that individual participants in such other
             trust funds can become participants in this Trust Fund. To that end, the Trustees shall have
             the authority to negotiate and consummate appropriate merger agreements which provide
             for the transfer of assets and liabilities from other employee pension benefit trust funds to
             this Trust Fund.
                   Any such merger agreement shall conform to these standards: (a) the value of the
             retirement benefits assumed by this Trust Fund (as determined on the basis of actuarial
             standards approved by the Trustees) with respect to the participants of the other trust fund
             who had retired prior to the date of the merger agreement shall not exceed the market value
             (determined on the date of transfer) of the assets transferred to this Trust Fund on behalf
             of such retired participants and (b) the value of the aggregate current service credited to
             the participants in the other trust fund who had not retired as of the date of the merger
             agreement shall not exceed one year of current service for each $1,300 (or other amount
             which may be fixed by the Trustees) of market value (determined on the date of transfer)
             of the remaining assets transferred to this Trust Fund on behalf of such participants, after
             allocation for retired participants.
                  Any such merger agreement shall also include such requirements as may be applica-
             ble under Section 208 of the Employee Retirement Income Security Act of 1974 and under
             the applicable provisions of the Internal Revenue Code.
             25. Eligible Rollover Plan Distributions
                   The Trustees shall have the authority to administer direct trustee-to-trustee transfers
             of eligible rollover plan distributions to financial institutions selected by the participant (or
             spouse or former spouse). The Trustees shall also have the authority to implement any nec-
             essary procedures and policies which are required by the Unemployment Compensation
             Amendment Act of 1992 and any amendments or regulations issued relating thereto in
             order to comply with the Act and regulations.
             26. Interpretation and Application of Documents
                  The Trustees shall have the authority to interpret and apply the provisions of this
             Trust Agreement, or of the Retirement Benefit Plan, or of their own motions, resolutions,
             and administrative rules and regulations, or of any contracts, instruments, or writings
             which they may have adopted or entered into.
             27. Adoption and Implementation of a Funding Improvement Plan and Rehabilitation
                 Plan
                   The Trustees shall have the authority to adopt and implement a funding improvement
             plan and a rehabilitation plan in accordance with the provisions of ERISA Section 305,
             should the enrolled actuary certify that the Retirement Benefit Plan is in endangered or
             critical status. In this regard, the Trustees shall provide the participating employers and


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            participating labor organizations with a schedule or schedules showing revised benefit
            and/or contribution structures which, if adopted, might reasonably be expected to allow
            the Retirement Benefit Plan to achieve applicable funding benchmarks (if the Retirement
            Benefit Plan is in endangered status) or to allow the Retirement Benefit Plan to emerge
            from critical status or to stave off insolvency.
                  If upon expiration of a collective bargaining agreement in effect at the time the
            Retirement Benefit Plan entered endangered or critical status, a participating employer and
            the participating labor organization are unable to agree on a new contract that includes
            benefit and/or contribution schedules necessary to allow the Retirement Benefit Plan to
            meet the applicable benchmarks, if the Retirement Benefit Plan is in endangered status, or
            to allow the Retirement Benefit Plan to emerge from critical status, or to stave off insol-
            vency, the Trustees shall have the authority to implement the default schedule as described
            under ERISA Section 305(c)(1) (B)(i) (I) and Section 305 (e)(1)(B)(ii).
            Nothing in this section should be construed as to limit the Trustees’ authority and powers
            under the Trust Agreement or applicable provisions of ERISA.




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                                              ARTICLE IX
                                    CONTRIBUTIONS AND COLLECTIONS

             1.   Contribution Reporting Forms
                  The Trustees shall create and make available, at the expense of the Trust Fund, contri-
             bution reporting forms for the use of participating employers in making their contribu-
             tions.
             2.   Contributions Due
                  Contributions shall be made on all hours worked or paid for, as required by the terms
             of the collective bargaining agreement. Hours worked include overtime hours. Hours paid
             for generally include vacation, sick, holiday, and probationary hours, whether specifically
             included in the collective bargaining agreement, or not.
             3.   Contribution Due Date
                 All contributions shall be due by the fifteenth (15) day of the month following the
             month in which they accrue.
             4.   Delinquent Contributions
                  A participating employer shall be considered to be delinquent in the payment of
             contributions if he (a) fails to submit a contribution reporting form, and the contributions
             detailed therein, by the close of business on the due date, or (b) fails to submit contribu-
             tions on behalf of all the employees for whom contributions are required under the appli-
             cable collective bargaining agreement, subscription agreement, or participation agree-
             ment, or (c) fails to properly compute the contributions according to the required contri-
             bution formula specified in the applicable collective bargaining agreement, subscription
             agreement, or participation agreement.
                  The Trustees shall undertake reasonable efforts to collect known delinquent contribu-
             tions and related claims.
             5.   Audit of Employer Books and Records
                  The Trustees shall have the authority to audit the payroll books and records of a
             participating employer, either directly or through a qualified public accountant, as they
             may deem necessary in the administration of the Trust Fund. Such payroll audit may be
             undertaken pursuant to a routine payroll audit program or on a case by case basis, as the
             Trustees may determine.
                  Whenever a payroll audit is authorized, the participating employer involved shall
             make available to the Trustees, or the qualified public accountant designated by them, its
             payroll books and records. Such books and records shall include (a) all records which the
             employer may be required to maintain under Section 209(a)(l) of the Employee
             Retirement Income Security Act of 1974, and (b) time cards, payroll journals, payroll
             check registers, cancelled payroll checks, copies of the employer’s federal, state, and local
             payroll tax reports, and all other documents and reports which reflect the hours and wages
             or other compensation of the employees or from which such can be verified (or electron-
             ic versions thereof).


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                 In the event the payroll audit discloses that the participating employer has not paid
            contributions, as required by the applicable collective bargaining agreement, subscription
            agreement, or special agreement, the employer shall be liable for the costs of the audit.
            6.   Liquidated Damages, Attorney Fees, Interest, and Other Charges
                  It is recognized and acknowledged by all parties, including the participating employ-
            ers, that the prompt and accurate payment of contributions is essential to the maintenance
            of an employee benefit trust fund and benefit plan and that it would be extremely difficult,
            if not impossible, to fix the actual expense and damage to the trust fund and plan which
            would result from the failure of a participating employer to pay the required contributions
            within the time provided.
                  Therefore, if an employer is delinquent in the payment of contributions by the tenth
            (10th) day following the contribution due date, or by such other date as the Board of
            Trustees may from time to time establish, the delinquent employer shall be liable, in addi-
            tion, for liquidated damages of ten percent (10%) of the amount of the contributions which
            are owed, or twenty five dollars ($25), whichever is greater.
                 If the delinquent contributions or liquidated damages are not paid by the tenth (10th)
            day of the month following the month in which they were due, or by such other date as the
            Board of Trustees may from time to time establish, the account will be referred to legal
            counsel, or a collection agent, for collection. Upon such referral, the delinquent employer
            shall be liable for reasonable attorney fees and for reasonable costs incurred in the collec-
            tion process, including court fees, audit fees, etc. In addition, delinquent contributions
            shall bear interest at the rate of ten percent (10%) per annum until paid, computed from
            the contribution due date.
            7.   Additional Liquidated Damages in Event of Court Judgment
                  In the event it is necessary to pursue a collection to a court judgment, the delinquent
            employer shall be liable for additional liquidated damages of ten percent (10%) of the
            amount of the contributions which are owed, making a total of twenty percent (20%). As
            provided in Section 515 of the Employee Retirement Income Security Act of 1974, as
            amended, the employer shall, if a judgment is entered, be obligated to the Trust Fund for
            the unpaid contributions, interest on the unpaid contributions, liquidated damages of twen-
            ty percent (20%), reasonable attorney’s fees and costs, and such other legal or equitable
            relief as may be appropriate.
            8.   Waiver of Charges
                 The Trustees shall have the authority to waive all or part of the payroll audit costs,
            liquidated damages, interest, attorney fees, or collection costs, for good cause shown.
            9.   Protection of Employees in Cases of Delinquency
                 To protect participating employees and beneficiaries in situations where participating
            employees may be denied pension credits because their employer is delinquent in the pay-
            ment of contributions, the Trustees shall have the authority to extend pension credits to
            such employees.
                The extension of pension credits shall not, however, release the delinquent employer
            from the responsibility for payment of the contributions owed.


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             10. Coordination with Provisions in Collective Bargaining Agreements
                  In the event the underlying collective bargaining agreement contains provisions relat-
             ing to delinquencies that specify additional remedies, or obligate the delinquent employer
             to greater amounts of liquidated damages, interest, or attorney fees than those set forth
             herein, the Trustees, at their option, may pursue the additional remedies or impose the
             greater charges.
                  The Trustees shall not be obligated, however, to pursue the collection of delinquent
             accounts through the grievance-arbitration procedures (if any) provided for in the appli-
             cable collective bargaining agreement.




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                                             ARTICLE X
                                   EMPLOYER WITHDRAWAL LIABILITY

            1.     Calculation and Collection of Employer Withdrawal Liability
                 As provided in the Multi-Employer Pension Plan Amendments Act of 1980 (PL 96-
            364) (hereafter the Act), in the event a participating employer should withdraw from the
            Trust Fund, the Board of Trustees shall (a) determine the amount of the employer’s with-
            drawal liability (if any), (b) notify the employer of the amount of the withdrawal liability
            and (c) collect the amount of withdrawal liability from the employer. In carrying out this
            responsibility the Board of Trustees shall apply the terms and provisions of the Act, and
            any regulations issued thereunder, provided, however, that the Board of Trustees may from
            time to time adopt alternate methods or formulae as permitted in the Act.
                 Sections 2, 3, and 4, set forth hereafter, have been adopted as alternates under the Act.
            2.     Determination of Amount of Unfunded Vested Benefits Allocable to Withdrawing
                   Employer
                 As allowable under 4211(a) of the Act, the Board of Trustees shall determine the
            amount of unfunded vested benefits allocable to a withdrawing employer in accordance
            with the formula set out in Section 4211(b) of the Act, and any regulations issued thereun-
            der, with the following modifications: (a) the initial pool will be based on the December
            31, 2006 unfunded vested benefit liability, reduced by the value of all outstanding claims
            for withdrawal liability that the Trust Fund can reasonably expect to receive for employ-
            ers withdrawing before 2006, (b) the calculation of subsequent pools established for
            changes in unfunded vested benefits as defined in 4211(b) (2) (B) of the Act will contin-
            ue to reflect the value of all outstanding claims for withdrawal liability that the Trust Fund
            can reasonably expect to receive for employers withdrawing before 2006, and (c) in any
            Plan year where the unfunded vested benefit liability at the end of the prior year is zero,
            the unfunded vested benefit liability allocation pools for prior years will be considered
            fully amortized and reset to zero.
                In making such a determination, reasonable actuarial assumptions and methods shall
            be applied as allowable under Section 4213(a)(1) of the Act and as determined by the
            Fund’s actuary.
            3.     Payment of Withdrawal Liability in Monthly Installments
                As allowable under Section 4219(c)(3) of the Act, the annual withdrawal liability
            payments owing to this Trust Fund by a withdrawing employer shall be payable in twelve
            equal monthly installments, due on the first (1st) day of each month, in advance.
            4.     Adoption of Administrative Rules and Regulations
                 The Board of Trustees shall adopt administrative rules and regulations relating to the
            processing of employer withdrawal situations.
            5.     Notice of Potential Withdrawal Liability
                 As provided in Section 101(1) of the Employee Retirement Income Security Act of
            1974, the Board of Trustees shall, upon written request, furnish to any employer who has
            an obligation to contribute to the Fund (a) a notice of the estimated amount of what would

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             be the employer’s withdrawal liability if the employer withdrew on the last day of the plan
             year preceding the date of the request, and (b) an explanation of how such estimated with-
             drawal liability was calculated, including (i) the actuarial assumptions and methods used
             to determine the value of the Retirement Benefit Plan’s liabilities and assets; (ii) the data
             regarding employer contributions, unfunded vested benefits and annual changes in the
             Retirement Benefit Plan’s vested benefits; and (iii) changes in the application of any rele-
             vant limitations in the estimated withdrawal liability. Such notice shall be furnished to the
             requesting employer within 180 days after the request but in no case shall an employer be
             entitled to receive more than one such notice during any one 12-month period. The Board
             of Trustees shall impose a reasonable charge on each employer requesting such a notice.




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                                      ARTICLE Xl
                 BENEFIT CLAIM, HEARING AND ARBITRATION PROCEDURES

            1.    Hearings Required
                  The Trustees shall afford a hearing to any participating employer, employer association,
            or labor organization who is aggrieved by any decision or action of the Trustees, or of the
            administrative manager acting on their behalf. The aggrieved party may present the appeal
            in person, or through a representative, or by written submission.
                  It shall be the obligation of any such person to exhaust the hearing procedures specified
            in this Article before instituting final and binding arbitration concerning any such decision
            or action.
            2. Requests for Hearings
                  Any person seeking a hearing shall make a request therefore, in writing, within sixty
            (60) days after being apprised of, or learning of, the complained of decision or action. All
            such requests shall be addressed to the Trustees and shall be mailed to the Trust Fund’s
            administrative office.
            3. Conduct of Hearings
                  Upon receipt of a request for a hearing, the Trustees shall fix a date and place for a hear-
            ing. At the hearing, the complaining person shall be entitled to present his position and any
            witnesses or other evidence in support thereof. The complaining person may be represented
            by an attorney or by any other representative of his choosing. In the alternative, the com-
            plaining person may choose to present his appeal by written submission.
                  The Trustees shall, within thirty (30) days following the hearing, issue a written deci-
            sion affirming, modifying, or setting aside the former decision or action.
            4. Hearing Rules
                  The Trustees shall have the authority to adopt rules governing the conduct of any such
            hearing.
            5. Arbitration - Mandatory
                  If the complaining person is dissatisfied with the written decision of the Trustees, he
            shall have the right to appeal the matter to mandatory, final and binding arbitration in accor-
            dance with the labor arbitration rules or the employee benefit claim rules of the American
            Arbitration Association, provided that he submit a request for arbitration to the Trustees, in
            writing, within sixty (60) days of receipt of the written decision. If an appeal to arbitration
            is requested, the Trustees shall submit to the arbitrator a certified copy of the record upon
            which the Trustees’ decision was made.
                  The question for the arbitrator shall be (1) whether the Trustees were in error upon an
            issue of law, (2) whether they acted arbitrarily or capriciously in the exercise of their dis-
            cretion, or (3) whether their findings of fact were supported by substantial evidence. The
            decision of the arbitrator shall be final and binding upon the Trustees, upon the appealing
            party, and upon all other parties whose interests are affected thereby. The expenses of the
            arbitration shall be borne equally by the appealing party and by the Trust Fund, unless oth-
            erwise ordered by the arbitrator.



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             6.   Benefit Claim and Review Procedures for a Participating Employee or Beneficiary
                  The Trustees shall provide benefit claim and review procedures for any participating
             employee or beneficiary who has made a claim for benefits and is aggrieved by any deci-
             sion or action of the Trustees, or of the administrative manager acting on their behalf. The
             aggrieved party may present the appeal under the Benefit Claim and Review Procedures
             set out in Article XIII, Section 5 of the Retirement Benefit Plan.
             7. Sole and Exclusive Remedies
                  These Benefit Claim, Hearing and Arbitration procedures are the sole and exclusive
             remedies for all complaining persons.




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                                                  ARTICLE XII
                                                  LIMITATIONS

            1.   Liabilities and Debts of Trust Fund
                 No participating employer, employer association, or labor organization, shall be
            responsible for any liabilities or debts of the Trust Fund. This provision, however, shall not
            relate to any liability that may be imposed upon a participating employer under Section
            4971 of the Internal Revenue Code or Title IV of the Employee Retirement Income
            Security Act of 1974, as amended by the Multi-Employer Pension Plan Amendment Act
            of 1990.
            2.   Liabilities and Debts of Participating Parties
                 No participating employer, employer association, or labor organization shall, by rea-
            son of their participation in the Trust Fund, become responsible for the liabilities or debts
            of any other participating employer, employer association, or labor organization.
            3.   Personal Liabilities of Trustees and Fiduciaries
                 No Trustee or other fiduciary shall incur any personal liability in connection with the
            administration of the Trust Fund or the Retirement Benefit Plan, except for such liability
            that may be established in accordance with Section 409(a) of the Employee Retirement
            Income Security Act of 1974.
                  Except as may be required by applicable provisions of such Act, no Trustee or other
            fiduciary shall be held personally liable for any breach of fiduciary responsibilities in con-
            nection with the administration of the Trust Fund or the Retirement Benefit Plan where it
            is established (a) that the responsibilities at issue were lawfully allocated or delegated to
            other Trustees or fiduciaries or (b) that in carrying out the responsibilities at issue the
            Trustee or other fiduciary reasonably relied upon the advice given by the administrative
            manager or by one or more of the professional persons employed by the Trustees.
                 No Trustee or other fiduciary shall be personally liable for a breach of fiduciary
            responsibilities if such breach was committed before he became a fiduciary or after he
            ceased to be a fiduciary.
            4.   Judgments Against Trust Fund
                  Any money judgment against the Trust Fund shall be enforceable only against the
            Trust Fund entity and shall not be enforceable against any Trustee or other person, unless
            liability against the Trustee or other person, in his individual capacity, is established in
            accordance with Section 409(a) of the Employee Retirement Income Security Act of 1974.
            5.   Participating Parties’ Rights
                 Except as specifically provided for in this Trust Agreement or in the Retirement
            Benefit Plan, no participating employer, employer association, labor organization,
            employee, or beneficiary shall have any right, title, or interest in or to the Trust Fund, or
            in or to the contributions, or in or to the benefits provided.
                  No participating employee shall be entitled to receive any part of the contributions in
            lieu of the benefits provided through the Retirement Benefit Plan, nor shall a participating
            employee who does not qualify for benefits, or his employer, have any claim to the con-

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            tributions which may have been paid on his behalf.
            6.   Cessation of Participation
                  In the event a participating employer, employer association, or labor organization, or
            groups thereof, should cease their participation in the Trust Fund, there shall be no divi-
            sion or allocation of any of the monies or assets of the Trust Fund, except as may be spec-
            ified in the Retirement Benefit Plan or required by law.
            7.   Protection of Trust Fund, Contributions, and Benefits
                 No part of the Trust Fund (including the contributions) or the benefits payable under
            the Retirement Benefit Plan, shall be subject in any manner, by a participating employee
            or beneficiary, to anticipation, alienation, sale, transfer, assignment, encumbrance, or
            charge, and any such attempt shall be null and void except as may be required under
            Section 206(d) of the Act, as amended (a QDRO).
                 Further, no part of the Trust Fund (including the contributions), or the benefits
            payable under the Retirement Benefit Plan, shall be liable for the debts of a participating
            employee or beneficiary, nor be subject in any manner to garnishment, attachment, lien,
            charge, or any other legal process brought by any person against a participating employee
            or beneficiary, and any such attempt shall be null and void except as may be required
            under Section 206(d) of the Act, as amended (a QDRO).
            8.   Reliance upon Written Documents
                 The Trustees may act upon any written letter, report, certificate, instrument, or other
            document submitted to them by any participating employer, employer association, labor
            organization, employee, or beneficiary, or by any other person, where such document
            appears to be genuine and to be signed by the proper person or persons and the Trustees
            shall be under no duty to make any investigation or inquiry as to any statement contained
            in any such document.
            9.   Agents of Trust Fund
                 Unless authorized in a motion or resolution of the Trustees, no participating employ-
            er, employer association, or labor organization, nor any individuals employed thereby,
            shall have any authority to act or function for or on behalf of the Trust Fund or as agent
            thereof.
                 Likewise, unless authorized in a motion or resolution of the Trustees, no individual
            Trustee or other fiduciary shall have any authority to act or function for or on behalf of the
            Trust Fund or as an agent thereof.




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                                                 ARTICLE XIII
                                               MISCELLANEOUS
            1.    Trust Fund Offices
                  The Trust Fund shall maintain a principal office and suboffices, where necessary, in
            such locations as the Trustees may determine.
            2. Applicable Laws and Regulations
                  This Trust Agreement and the Retirement Benefit Plan shall be interpreted and
            administered in accordance with Section 302(c) of the Labor Management Relations Act
            of 1947, the Employee Retirement Income Security Act of 1974, the Internal Revenue
            Code, and the regulations pertinent thereto, and other applicable statutes and regulations,
            as such statutes and regulations presently exist or as they may hereafter be amended. Any
            omissions or oversights will be resolved in accordnce with the laws and regulations.
                  References herein to particular sections of the above mentioned statutes shall include
            any regulations pertinent to such sections and shall encompass any subsequent amend-
            ments to such sections or regulations.
            3. Notices
                  Any written notice permitted or required by this Trust Agreement shall be personal-
            ly delivered to the person for whom it is intended or sent to such person, at his residence
            or business address, by first class mail. Any such notice may also be delivered by email,
            facsimile transmission, or other electronic means available as may be allowed by law.
            4. Severability
                  If any provision of this Trust Agreement, or of the Retirement Benefit Plan is held to
            be illegal or invalid for any reason, such illegality or invalidity shall not affect the remain-
            ing portions of the Trust Agreement or the Retirement Benefit Plan.
            5. Title — Words
                  The titles of the various articles and sections of this Trust Agreement are inserted
            solely for convenience of reference and are not a part of, nor shall they be used to con-
            strue, any term or provision hereof. Whenever any words are used herein in the masculine
            gender they shall be construed as though they were used in the feminine gender, and words
            in singular form shall be construed as though they were used in the plural form, in all cases
            where they would so apply.
            6. Information to be Furnished and Distributed
                  To aid the Trustees in the administration of the Trust Fund, the participating employ-
            ers, employer associations and labor organizations shall furnish the Trustees with such
            information as they may determine including (a) copies of collective bargaining agree-
            ments, (b) contribution rates, (c) the identity of employees covered by collective bargain-
            ing agreements, subscription agreements or participation agreements, and their social
            security numbers, (d) reports on compensated hours for all employees who have worked
            in the bargaining unit or as a nonbargaining unit employee whether or not a contribution
            has been paid, (e) reports on all hours or shifts or wages which constitute the basis of the
            contribution made to the Retirement Benefit Plan as provided in the collective bargaining
            agreement, subscription agreement or participation agreement, and (f) reports on actual
            contributions owed broken down by each employee.



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                                           ARTICLE XIV
                                    AMENDMENTS AND TERMINATION

            1.   Amendments
                 This Trust Agreement may be amended by action of the Trustees, except that the
            Trustees shall make no amendment to Article III without the unanimous written consent
            of the Trustees and the remaining signatory parties (or their successors).
                 In the event that the Trustees should propose an amendment to Article III, they shall
            deliver copies thereof to the remaining signatory parties (or their successors). If any sig-
            natory party (or successor thereto) fails, within thirty (30) days, to respond to a written
            request for consent to any such amendment, that signatory party will be deemed to have
            waived its right to act upon such amendment.
            2.   Termination
                 This Trust Agreement may be terminated, at anytime, by unanimous action of the
            Trustees and the remaining signatory parties (or their successors).
            3.   Allocation upon Termination
                  If the Plan is terminated, all assets remaining in the Trust Fund after the payment of
            all expenses incurred in terminating or administering the Plan will be allocated to the ben-
            efit of participating employees, retired employees, and surviving spouses, according to the
            following order of priority:
                 (a) First, the remaining assets shall be allocated equally to (1) benefits in pay status
            three years prior to termination at the lowest benefit level under the plan during the five
            years prior to termination, and (2) benefits which would have been in pay status three
            years prior to termination had the employee been retired (and had his benefits commenced
            then, at the lowest benefit level under the plan during the five years prior to termination.)
                 (b) Second, the assets remaining after satisfying the benefits described in section (a)
            above shall be allocated equally to all other benefits guaranteed under Title IV of the
            Employee Retirement Income Security Act of 1974, (irrespective of the limitations on the
            amount of monthly benefits and regardless of the number of plans in which the employee
            participated).
                 (c) Third, the then remaining assets shall be allocated equally to all other non-for-
            feitable (vested) benefits under the plan.
                (d) Fourth, the then remaining assets shall be allocated equally to all other benefits
            under the plan.
                 If the assets of the Trust Fund applicable to any of the above categories (a) and (b)
            are insufficient to provide fully the amount of the benefits in each category, the benefits
            otherwise payable shall be reduced proportionately.
                  If the assets of the Trust Fund applicable to category (c) are insufficient to provide
            fully the amount of the benefits in that category, the assets shall be allocated to the bene-
            fits of individuals which are described in that category on the basis of benefits of individ-
            uals which would have been described in category (c) under the Plan as in effect at the
            beginning of the 5-year period ending on the date of plan termination.

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                  If the assets available for allocation under the preceding paragraph are sufficient to
            satisfy in full the benefits described in that paragraph, then for purposes of that paragraph,
            benefits of individuals described in that paragraph shall be determined on the basis of the
            Plan as amended by the most recent Plan amendment effective during such 5-year period
            under which the assets available for allocation are sufficient to satisfy in full the benefits
            of individuals described in the preceding paragraph and any assets remaining shall be allo-
            cated under that paragraph on the basis of the Plan as amended by the next succeeding plan
            amendment effective during such period.
                 The amount allocated under any of the priority categories listed above with respect
            to any benefit shall be adjusted for any allocation of assets with respect to that benefit
            under a prior category.
                  The amount allocated to each benefit shall be used to provide monthly retirement
            benefit payments through continuance of the Trust Fund, or through a new Trust Fund, or
            for the purchase of insurance annuity contracts; provided that, if the Trustees find that it is
            not practical or desirable under the circumstances to do any of the foregoing, they may
            provide for some other means of disposing of the allocations of the Trust Fund, including
            making payments in cash to the persons for whom such allocations have been made.
                 In no event shall any of the remaining monies or assets be paid to or be recoverable
            by any participating employer, employer association, or labor organization.




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                                  SIGNATORY PARTIES as of March 25, 1976
             Labor Organization Signatory Parties           Employer Signatory Parties
             International Printing & Graphic               Seattle Post-lntelligencer (Division of
             Communications Union                           Hearst Publishing Company, Inc.)
             By                              Sol Fishko     By                       Gerald W. Hedman
             Title                            President     Title               Director of Personnel &
             Date                       March 25, 1976                                  Labor Relations
                                                            Date                        March 25, 1976
             Printing Specialties and Paper Products
             Unions, IP & GCU                               Seattle Times Company
             By                               Sol Fishko    By                       Harold Fuhrman
             Title                 President, IP & GCU      Title      Vice President & General Mgr.
             Date                       March 29, 1976      Date                      March 25, 1976

             Seattle Web Pressman Local No. 26              Los Angeles Paper Box and Board Mills
             IP & GCU                                       By                 William H. Kewell, Jr.
             By                   George G. Peterson        Title                          President
             Title                2nd V.P. #26 Seattle      Date                     March 25, 1976
             Date                     March 25, 1976
                                                            Bay Area Paper Box Employers
             Los Angeles Commercial Pressmen                By                   Edward H. Moore
             Local No. 78, IP & GCU                         Title                        Secretary
             By                     Frank Calderone         Date                      June 7, 1976
             Title                         President
             Date                    March 25, 1976         Printing Industries Association
                                                            (Union Employers Section - Los Angeles)
                                                            By                              Jerry Maras
                                                            Title                        Representative
                                                            Date                       March 25, 1976




                                    SIGNATORY PARTIES as of July 1, 1984
             Graphic Communications International           Graphic Communications Union, Local
             Union (successor to International Printing     No. 404-M (successor to Los Angeles
             & Graphic Communications Union)                Commercial Pressman No. 78, IP & GCU)

             Graphic Communications Union No. 777           Seattle Times Company
             (successor to Printing Specialties and Paper
             Products Union, IP & GCU)                      Bay Area Paper Box Employers

             Seattle Newspaper Pressmen Local No. 26,       Printing Industries Association (Union
             GCIU                                           Employers Section—Los Angeles)




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            Note: On September 9, 1988, the three remaining employer signatory parties, the Seattle
                  Times, the Bay Area Paper Box Employers, and the Printing Industries Association
                  (Union Employers Section) - Los Angeles, agreed, in writing, to irrevocably and
                  unconditionally transfer and assign to the incumbent employer trustees and their
                  successors all of their rights and powers under this Trust Agreement and to forever
                  resign their positions as employer signatory parties.




                                  SIGNATORY PARTIES as of September 1, 1990
            Graphic Communications International          Graphic Communications Union, Local
            Union (successor to International Printing    No. 767-M (successor to Seattle
            & Graphic Communications Union)               Newspaper Pressmen Local No. 26, GCIU)
            Graphic Communications Union, Local           Graphic Communications Union, Local
            No. 388-M (successor to Graphic               No. 404-M (successor to Los Angeles
            Communications Union, No. 777)                Commercial Pressmen No. 78, IP & GCU)




                                  SIGNATORY PARTIES as of September 1, 1999
            Graphic Communications International          Graphic Communications Union, Local
            Union (successor to International Printing    No. 767-M (successor to Seattle
            & Graphic Communications Union)               Newspaper Pressmen Local No. 26, GCIU)
            Graphic Communications Union, Local           Graphic Communications Union, Local
            No. 388-M (successor to Graphic               No. 404-M (successor to Los Angeles
            Communications Union, No. 777)                Commercial Pressmen No, 78, IP & GCU)




                                  SIGNATORY PARTIES as of September 1, 2012
            Graphic Communications International          Graphic Communications Union, Local
            Union (successor to International Printing    No. 767-M (successor to Seattle
            & Graphic Communications Union)               Newspaper Pressmen Local No. 26, GCIU)
            Graphic Communications Union, Local           Graphic Communications Union, Local
            No. 388-M (successor to Graphic               No. 404-M (successor to Los Angeles
            Communications Union, No. 777)                Commercial Pressmen No, 78, IP & GCU)




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                                      LIST OF TRUSTEES as of January 1, 1976

             Employer Trustees                           Labor Organization Trustees
             Harold Fuhrman                              Sol Fishko
             Charles Woessner                            Robert O’Neil
             Joseph Conley                               Jack McCormick
             Jerry Maras                                 Don McCaughan
             Frank Hurlburt                              George Peterson
             William Kewell, Jr.                         Frank Calderone
                                                         Wade Moore

             Alternate Employer Trustees                 John Millan
             Gerald Hedman                               Floyd F. Lisinski
             Walter Taylor
             O.H. Rieth                                  Alternate Labor Organization Trustees
             Lad Sabo                                    George Barnett
                                                         George Gates
                                                         Cy Quinn

                                     LIST OF TRUSTEES as of September 1, 1990

             Employer Trustees                           Labor Organization Trustees
             Joseph Conley                               James Western
             Harold Fuhrman                              George Barnett
             Jerry Maras                                 Wade Moore
             O.H. Rieth                                  Floyd Lisinski
             Donald Scheiber                             William Roberts
             David Stanger                               James Norton
                                                         Gary Dunmire
                                                         Robert Bartlett
                                                         William Clark

                                     LIST OF TRUSTEES as of September 1, 1999

             Employer Trustees                           Labor Organization Trustees
             Joseph Conley                               Frank P. Young
             Harold Fuhrman                              William Clark
             Hugh Gaylord                                John A. Giannone
             Jerry Maras                                 Stephen E. Northup
             Thomas E. Phillips                          James J. Norton
             Nate Accardi                                Edward A. Treacy
             Jim Janiga                                  John D. Bachler
                                                         Alternate Labor Organization Trustees
                                                         George Osgood
                                                         Ryan Sherard
                                                         Paul E. Golden



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